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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA                                             JS-6
                                     CIVIL MINUTES - GENERAL
                                                                                          January 21, 2021
Case No.     2:19-cv-07950-SVW                                                Date

             Jorge Green v. Qatar Airways Company et al.
Title




 Present: The Honorable     STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                   Paul M. Cruz                                                 N/A
                   Deputy Clerk                                     Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                         N/A                                                        N/A
 Proceedings:            FINDINGS OF FACT, CONCLUSIONS OF LAW, AND JUDGMENT.

       Jorge Green (“Plaintiff”) filed the instant lawsuit against Qatar Airways Company
(“Defendant”), alleging that Defendant is liable for Plaintiff’s injuries resulting from an accident that
occurred on Defendant’s airplane. On December 9–10, 2020, this Court conducted a bench trial to
resolve Plaintiff’s claims.

        This order contains the Court’s Findings of Fact, Conclusions of Law, and Judgment.

   I.   Findings of Fact.

       On September 2, 2017, Plaintiff was a passenger on Defendant’s flight No. QR740 from Los
Angeles, California to Doha, Qatar. Green Decl. at ¶ 1; Gangolli Decl. at ¶ 2. Plaintiff was seated in
row 25, seat F. Wanjiru Decl. at ¶ 3. Flight QR740 was approximately 16.5 hours in duration and
included two meal services, one snack service, and multiple beverage services. Id.

        Approximately three hours before landing, the crew on flight QR740 began the second meal
service. Id. at ¶ 7. Sheila Wanjiru—the flight attendant responsible for serving Plaintiff’s section of
the cabin—retrieved a service cart, began the second meal service around row 17, and gradually
proceeded towards the back of the plane. Id. at ¶ 7–8. After serving any given row, Wanjiru would
push the cart approximately 3 feet forward in order to serve the next row. Id. at ¶ 8.

        After serving the passengers in row 23, Wanjiru began pushing the cart forward in order to serve
the passengers in row 24. Id. at ¶ 10. By this point, Wanjiru had served most of the meal trays




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contained in the service cart. See Wanjiru Trial Testimony. As Wanjiru began pushing the cart
forward from row 23, the front of the cart made contact with Plaintiff’s right knee, which was positioned
in the aisle. Id. at ¶ 11. Wanjiru stopped the cart and apologized, and Plaintiff responded that he was
fine and felt no pain.1 Id. at ¶ 12.

        Approximately 30 minutes before the flight landed, however, Plaintiff informed Wanjiru that he
was feeling pain in his right knee. Id. at ¶ 15. Wanjiru offered Plaintiff an ice pack, which Plaintiff
accepted. Id. After the plane landed, Wanjiru’s supervisor, Shepali Gangolli, urged Plaintiff to visit
the airport clinic and offered Plaintiff assistance through the time of boarding his next flight. Gangolli
Decl. at ¶ 8. As indicated from images reviewed by the Court at trial, Plaintiff’s knee was slightly
swollen and bruised following the incident.

        Upon returning to the United States later in September 2017, Plaintiff began nine months of
treatment with Dr. Sarkis Cholakyan, a chiropractor. Green Decl. at ¶ 5. That treatment ended in June
2018. Id. Following that treatment, Plaintiff visited an orthopedist who diagnosed Plaintiff with a
meniscus tear. Id. at ¶ 6. A second orthopedist performed a platelet rich plasma injection on
Plaintiff’s right knee. Id. at ¶ 7; Nassos Decl. at ¶ 7. Plaintiff received additional treatment in October
2019 at a hospital in Ukraine.2 Id. at ¶ 9. Finally, in September 2020, Plaintiff underwent a right knee
arthroscopy and meniscectomy for his meniscus tear. Id. at ¶ 11; Ghodadra Decl. at ¶ 7.

       The incident on flight QR740 did not cause Plaintiff’s meniscus tear. On this point, the Court
was persuaded by the testimony of Defendant’s experts, Dr. Ronald Kvitne and Dr. Swathi Kode.

        Dr. Kode, a biomechanical engineer, conducted an analysis to determine the amount of force
created by an impact from a food cart like the one on flight QR740. Kode Decl. at ¶ 5. Dr. Kode
conducted four tests in which she pushed food carts of varying weights from varying distances into a
load cell that measured the amount of force from the impact of the cart. Id. at ¶¶ 7–10. The maximum

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  Plaintiff alleges that when the cart hit his knee, he “woke up screaming from the impact of the food cart and immediately
experienced excruciating pain and swelling to my right knee.” Green Decl. at ¶ 1. Having observed Plaintiff’s live
testimony at trial, the Court does not find this statement credible.
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    Plaintiff introduced no medical evidence at trial regarding the nature or details of this procedure.




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force measured—i.e., the amount of force created by a full cart at a distance of 84 inches from the load
cell—was 155.6 pounds. Id. at ¶¶ 10–11. Dr. Kode concluded to a reasonable degree of scientific
certainty that this amount of force could not have caused Plaintiff’s meniscus tear. Id. at ¶ 14. Dr.
Kode’s conclusion relied on research studies demonstrating that humans can tolerate frontal impact
loads of approximately 800 to 1,000 pounds with only minor knee pain. Id. at ¶ 15.

        Similarly, Dr. Kvitne, a board-certified orthopedic surgeon, concluded to a reasonable degree of
medical certainty that the incident on flight QR740 could not cause Plaintiff’s meniscus tear. Kvitne
Decl. at ¶11. Dr. Kvitne’s conclusion was based on Plaintiff’s medical records and an independent
medical exam of Plaintiff. Id. at ¶¶ 4–5. Indeed, while examining Plaintiff, Dr. Kvitne found no
objective signs of the symptoms Plaintiff complained of, including knee buckling, locking, clicking,
cracking, and popping. Id. at ¶ 13. Dr. Kvitne also found no objective indications of pain aggravated
by standing, walking, twisting, kneeling, and squatting. Id. Dr. Kvitne explained that if a patient
suffered from those symptoms and limitations, he would expect significant atrophy when comparing the
injured leg to the non-injured leg. Id. Dr. Kvitne, however, measured both of Plaintiff’s legs and
found “no atrophy of the thigh or calf musculature, in essence confirming that both legs are being used
equally. Both legs also tested as having normal strength, normal sensation, and normal reflexes.” Id.

       Dr. Kvitne further concluded that the incident on flight QR740 would only result in a “soft tissue
contusion with edema and inflammation along the outside aspect of [P]laintiff’s knee. This would have
resolved over time with conservative management.” Id. at ¶ 14. Such management would consist of
24 sessions of physiotherapy or chiropractic therapy at $150 per visit for a total of $3,600.3 Id. at ¶ 15.

       The Court finds that the bruising and swelling that Plaintiff experienced are consistent with Dr.
Kvitne’s conclusion that the incident on flight QR740 would only have resulted in a “soft tissue
contusion with edema and inflammation” of Plaintiff’s knee. Accordingly, the Court finds that the
incident on flight QR740 caused the bruising and swelling of Plaintiff’s knee but not a meniscus tear.


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  Plaintiff asserts that his treatment with Dr. Cholakyan cost approximately $5,875. Green Decl. at ¶ 5. However, no
billing records from Dr. Cholakyan’s office were introduced at trial, see Dkt. 57, and Plaintiff offers no corroborating
evidence for his approximation of the cost of Dr. Cholakyan’s treatment. Given that the Court found Plaintiff’s testimony
incredible throughout trial, the Court cannot accept Plaintiff’s approximation of the cost of this treatment.




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  II.   Conclusions of Law.

        Plaintiff’s claim is governed by the Convention for the Unification of Certain Rules for
International Carriage by Air (hereinafter “Montreal Convention”). Under the Montreal Convention,
Defendant is liable for “damage sustained in case of death or bodily injury of a passenger upon
condition only that the accident which caused the death or injury took place on board the aircraft or in
the course of any of the operations of embarking or disembarking.” Montreal Convention, Art. 17.

       To state a claim under the Montreal Convention, Plaintiff must establish the following: (1) there
was an accident during flight QR740; (2) the accident caused Plaintiff’s alleged injuries; and (3) the
accident occurred while Plaintiff was on board the aircraft or in the course of embarking or
disembarking the aircraft. See Phifer v. Icelandair, 652 F.3d 1222, 1224 (9th Cir. 2011). The parties
do not dispute the first and third elements. Rather, the parties dispute the second element, i.e.,
causation.

        As discussed above, the Court found that that the incident on flight QR740 did not cause
Plaintiff’s meniscus tear. See supra at 2–3. Accordingly, Plaintiff cannot state a claim for relief
regarding his meniscus tear.

       However, the Court also found that the incident on flight QR740 caused the bruising and
swelling of Plaintiff’s knee. See supra at 3. Accordingly, Plaintiff has established entitlement to relief
under the Montreal Convention for the injuries to his knee.

        As noted above, the Court is persuaded by Dr. Kvitne’s testimony that the reasonable cost for
treating Plaintiff’s bruising and swelling is $3,600. See supra at 3. The Court is not persuaded by
Plaintiff’s approximation of the cost of his chiropractic treatment. See supra at n.2.

        Accordingly, the Court finds that Plaintiff stated a claim for relief under the Montreal
Convention for the bruising and swelling he suffered as a result of the incident on flight QR740.
Plaintiff is entitled to $3,600 in damages.




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III.    Judgment.

       IT IS ORDERED, ADJUDGED, AND DECREED that judgment be entered in favor of Plaintiff
Jorge Green in the amount of $3,600.




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